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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO

EASTERN DIVISION
JAMES HAYDEN, ) CASE NO. 1:17CV2635
)
Plaintiff, ) JUDGE CHRISTOPHER A. BOYKO
)
VS. ) SPECIAL INTERROGATORIES
) AND VERDICT FORMS
2K GAMES, INC. and TAKE-TWO )
INTERACTIVE SOFTWARE, INC., _)
Defendants, )

YOUR ANSWERS MUST BE UNANIMOUS.
1. Do you find that Defendants have proved by a preponderance of the evidence their Implied
License defense? (Check one).
Yes (for Defendants)
No (for Plaintiff)
If you answered “Yes” to Question 1, skip the remaining questions and proceed to the Verdict
Form for Defendants.

If you answered “No” to Question 1, proceed to Question 2.

2. Do you find that Defendants have proved by a preponderance of the evidence their Waiver
defense?
Yes (for Defendants)
No (for Plaintiff)
If you answered “Yes” to Question 2, skip the remaining questions and proceed to the Verdict

Form for Defendants.
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If you answered “No” to Question 2, proceed to Question 3.

3. Do you find that Defendants have proved by a preponderance of the evidence their De
Minimis Use defense?
Yes (for Defendants)
No (for Plaintiff)
If you answered “Yes” to Question 3, skip the remaining questions and proceed to the Verdict
Form for Defendants.

If you answered “No” to Question 3, proceed to Question 4.

4. Do you find that Defendants’ copying of Plaintiff's Asserted Tattoos was fair use?

Yes (for Defendants)

No (for Plaintiff)
If you answered “Yes” to Question 4, skip the remaining questions and proceed to the Verdict
Form for Defendants.

If you answered “No” to Question 4, proceed to Question 5.

5. Do you find that Plaintiff proved by a preponderance of the evidence that Defendants
infringed Plaintiffs Copyrights?

Yes (for Plaintiff)

No (fer Defendants)
If you answered “Yes” to Question 5, proceed to the Verdict Form for Plaintiff.

If you answered “No” to Question 5, proceed to the Verdict Form for Defendants.
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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO

EASTERN DIVISION
JAMES HAYDEN, ) CASE NO. 1:17CV2635
)
Plaintiff, ) JUDGE CHRISTOPHER A. BOYKO
)
vs. ) VERDICT FOR DEFENDANTS
)
2K GAMES, INC. and TAKE-TWO )
INTERACTIVE SOFTWARE, INC., )
Defendants. )

On Plaintiff James Hayden’s Claim for Copyright Infringement, we the jury duly
empaneled and sworn, unanimously find in favor of Defendants, 2K Games, Inc. and Take-

Two Interactive Software, Inc.

pate: 4/14/2074

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO

EASTERN DIVISION
JAMES HAYDEN, ) CASE NO. 1:17CV2635
)
Plaintiff, ) JUDGE CHRISTOPHER A. BOYKO
)
vs. ) VERDICT FOR PLAINTIFF
)
21s GAMES, INC. and TAKE-TWO )
INTERACTIVE SOFTWARE, INC., )
Defendants. )

On Plaintiff James Hayden’s Claim for Copyright Infringement, we the jury duly
empaneled and sworn, unanimously find in favor of Plaintiff and against Defendants 2K

Games, Inc. and Take-Two Interactive Software, Inc. in the amount of $

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